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 1                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3                                SAN FRANCISCO-OAKLAND DIVISION
 4

 5   SIERRA CLUB, et al.,                              Case No.: 4:19-cv-00892-HSG
 6                         Plaintiffs,                 [PROPOSED] ORDER GRANTING
                                                       CONSENT MOTION FOR LEAVE TO
 7            v.                                       FILE BRIEF OF FORMER MEMBERS OF
 8                                                     CONGRESS AS AMICI CURIAE IN
     DONALD J. TRUMP, President of the United          SUPPORT OF PLAINTIFFS’ MOTION
 9   States, in his official capacity, et. al.,        FOR PARTIAL SUMMARY JUDGMENT

10                         Defendants.

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12            Upon consideration of the Consent Motion for Leave to File Brief of Former Members of

13   Congress as Amici Curiae in Support of Plaintiffs’ Motion for Partial Summary Judgment, it is

14                                               Counsel
     hereby ORDERED that the motion is GRANTED. The clerk is directed to file the brief attached to

15   amici’s motion on the docket in this matter.

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17   Dated:          10/21/2019
                                                            HON. HAYWOOD S. GILLIAM, JR.
18                                                             United States District Judge

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     [PROPOSED] ORDER GRANTING CONSENT MOTION FOR LEAVE TO FILE AMICI BRIEF 4:19-cv-00892-HSG
